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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         :
                                                 :
        v.                                       : CRIMINAL NO. CCB-07-0355
                                                 :
ALAN B. FABIAN                                   :
                                                 :
                                                 :
                                              ..oOo..

                     MOTION FOR ENTRY OF RESTITUTION ORDER

        The United States, by its undersigned counsel, hereby moves this Court to enter a

Restitution Order pursuant to 18 U.S.C. §§ 3663 and 3663A requiring the defendant to pay

particular amounts of restitution to the victims of his offenses. In support of this motion, the

Government states as follows:

        1.      On October 31, 2008, this Court entered judgment against defendant Fabian, but

deferred the entry of a restitution order.

        2.      Upon review of the information collected in the investigation of this case and

consideration of the affidavits provided by the victims, the Government believes that the victims

sustained the following losses as a result of the defendant’s unlawful conduct that are properly

the subject of a restitution order:

                a.      MAXIMUS, Inc. - $16,275,964.12

                b.      Presidio, Inc. (formerly known as Solarcom) - $10,310,000.00

                c.      De Lage Landen Financial Services, Inc. - $4,024,051.00

                d.      Key Equipment Finance, Inc. - $703,485.00

                e.      Provident Bank of Maryland, Inc. - $4,035,854.52

                f.      Wachovia, National Association - $3,625,500.28
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               g.      GS Financial Network, Inc. - $213,769.80

               h.      Internal Revenue Service - $974,009.10

       3.       None of the above-listed victims has any objection to this motion.

       4.      Counsel for defendant Fabian has informed the undersigned that defendant Fabian

agrees with the amounts specified in paragraph 2 above.

       5.      Counsel for defendant Fabian has informed the undersigned that defendant Fabian

wishes the Court’s Restitution Order to include the following:

               a.      A provision stating that prejudgment and post-judgment interest shall not

accrue on any of the amounts listed in paragraph 2 above; and

               b.      A provision stating that the Court has considered the financial resources of

the defendant, including all assets in which the defendant has a financial interest, and the

financial needs and earning ability of the defendant and his dependents; that the Court finds that

the defendant’s earnings derived from employment while he is in the custody of the Bureau of

Prisons will be negligible and that the defendant’s projected income from outside sources cannot

be determined at this time; that the Court further finds that any income the defendant receives

will be insufficient to meet his financial obligations, which include the monthly living expenses

of his wife and three children, numerous civil judgments, and other unpaid debts; that the Court

therefore finds that the economic circumstances of the defendant do not allow the payment of

any of the foregoing amounts while the defendant is in custody and do not allow the payment of

the full amount of a restitution order in the foreseeable future under any reasonable schedule of

payments; and that the Court therefore directs the defendant, pursuant to 18 U.S.C. §

3664(f)(3)(B), to make nominal periodic payments of $1 per month during the term of his


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incarceration, and that the Court order restitution payments not to exceed $150 per month during

the term of supervised release.

       6.      Except as discussed below, the Government takes no position with respect to the

provisions suggested by defendant Fabian, as described in paragraph 5 above. The Government

requests that the Court include in its Order a schedule of payments that will apply once

defendant Fabian is released from custody. The Government believes that a monthly payment, if

included in the order, should be greater than $150. In addition, pursuant to 18 U.S.C. § 3664(k),

the Court’s Restitution Order should require defendant Fabian to notify the court and the

Attorney General of any material change in his economic circumstances that might affect his

ability to pay restitution, both during and after his incarceration. The Government further

requests that the Court’s Restitution Order direct the Clerk to make periodic disbursements of

restitution to the victims listed in Paragraph 2(a) through 2(g) on a pro rata basis, and that

pursuant to 18 U.S.C. § 3664(i), those victims listed in Paragraphs 2(a) through 2(g) should

receive all restitution due to them before the Clerk makes any restitution payments to the Internal

Revenue Service.

                                                      Respectfully submitted,

                                                      Rod J. Rosenstein
                                                      United States Attorney


                                              By:          /s/
                                                      Tonya Kelly Kowitz
                                                      Jonathan Biran
                                                      Assistant United States Attorneys
                                                      36 South Charles Street
                                                      Baltimore, Maryland 21201
                                                      (410) 209-4800


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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 16, 2008, the foregoing was electronically filed using

the District of Maryland CM/ECF system.



                                                       /s/
                                                  Jonathan Biran
                                                  Assistant United States Attorney




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